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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


 GARY FREMONT,

               Petitioner,

        v.                                               18-CV-1128
                                                         DECISION AND ORDER
 WILLIAM P. BARR,
 Attorney General of the United States,

 THOMAS E. FEELEY,
 Field Office Director for Detention and
 Removal Buffalo Field Office, Bureau of
 Immigration and Customs Enforcement

 DEPARTMENT OF HOMELAND
 SECURITY,

 JEFFREY J. SEARLS,
 Facility Director, Buffalo Federal
 Detention Facility

               Respondents.


       Gary Fremont is a citizen of Haiti who is detained while he awaits judicial review

of his final order of removal. He has been in federal immigration detention for about

twelve months without an individualized hearing regarding his risk of flight or

dangerousness. On October 12, 2018, Fremont filed a pro se petition for a writ of

habeas corpus under 28 U.S.C. § 2241, challenging the validity of his detention at the

Buffalo Federal Detention Facility in Batavia, New York. Docket Item 1. On February

11, 2019, the respondents moved to dismiss. Docket Items 7, 8. Fremont has not

responded to that motion, and the time to do so has now expired. See Docket Item 4.
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       For the reasons that follow, this Court denies the respondents’ motion to dismiss

and conditionally grants Fremont’s petition.


                    FACTUAL AND PROCEDURAL BACKGROUND


       The following facts, taken from the record, come largely from filings with the

United States Department of Homeland Security, Immigration and Customs

Enforcement (“DHS”). Fremont is a 36-year-old man who is a native and citizen of Haiti.

Docket Item 7-1 at 2; Docket Item 1 at 3. He was admitted to the United States at the

Miami International Airport as a derivative asylee 1 on or about January 27, 2006.

Docket Item 7-1 at 2. On March 14, 2006, Fremont became a lawful permanent

resident. Id.

       In April 2009, Fremont pleaded nolo contendere in a Florida state court to one

count of attempted armed robbery with a deadly weapon. Id.; Docket Item 7-2 at 12.

He was sentenced to a term of incarceration of 210 days and three years’ probation.

Docket Item 7-1 at 2.

       On March 19, 2018, Canadian officials denied Fremont entry into Canada at

Champlain, New York, where he attempted to claim asylum. Id. at 3; Docket Item 7-2 at

9. The Canadian Border Services Agency returned Fremont to the United States under

the Safe Third Country Agreement. 2 Docket Item 7-1 at 3. DHS then issued Fremont a


       1 Aliens may apply for asylum as provided for by statute. Derivative asylum
“involve[s] the grant of asylum status to a spouse or minor child (but not a parent) who
accompanies an alien already eligible for asylum status, even though the spouse or
child might not otherwise be eligible for asylum.” Kane v. Holder, 581 F.3d 231, 241
n.36 (5th Cir. 2009).
       2
       The Agreement Between the Government of the United States of America and
the Government of Canada for the Cooperation in the Examination of Refugee Status
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Notice to Appear and determined that Fremont would be detained pending a final

resolution of his removal proceedings. Docket Item 7-2 at 7.

         On September 11, 2018, Immigration Judge Steven J. Connelly ordered Fremont

removed from the United States to Haiti. Id. at 2. On January 15, 2019, the Board of

Immigration Appeals (“BIA”) dismissed Fremont’s appeal. Docket Item 7-1 at 4. On

February 12, 2019, Fremont, represented by counsel, filed a petition for review in the

United States Court of Appeals for the Second Circuit. See Fremont v. Barr, No. 19-369

(2d Cir.), Docket Item 1. He also moved to stay his removal. Id., Docket Item 10. Even

though the Second Circuit has not yet ruled on Fremont’s motion for a stay, DHS may

not execute his removal because of the forbearance agreement between DHS and the

Second Circuit. See Luna-Aponte v. Holder, 743 F. Supp. 2d 189, 191 (W.D.N.Y.

2010).

         Fremont remains in custody at the Buffalo Federal Detention Facility.


                                       DISCUSSION


         28 U.S.C. § 2241 “authorizes a district court to grant a writ of habeas corpus

whenever a petitioner is ‘in custody in violation of the laws or treaties of the United

States.’” Wang v. Ashcroft, 320 F.3d 130, 140 (2d Cir. 2003) (quoting 28 U.S.C.

§ 2241(c)(3)). The government maintains that Fremont is validly detained under 8




Claims from Nationals of Third Countries, or “Safe Third Country Agreement,” is
“intended to prevent forum-shopping by asylum seekers, and to promote the orderly
handling of asylum claims along the United States-Canadian border.” United States v.
Malenge, 294 F. App’x 642, 645 (2d Cir. 2008).

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U.S.C. § 1231. Docket Item 8 at 5-7. 3 Fremont makes three arguments to the contrary.

Docket Item 1. First, he claims that his detention violates 8 U.S.C. § 1231(a)(6) as

interpreted by the Supreme Court in Zadvydas v. Davis, 533 U.S. 678 (2001). Id. at 7.

Second, he argues that “his prolonged detention more than six months violates his right

to substantive due process under the Fifth Amendment.” Id. at 7. Third, he argues that

“his prolonged detention more than six months without a meaningful review of his

detention in accordance with federal regulations violates his right to procedural due

process under the Fifth Amendment.” Id. at 8. He also asks this Court to order the

respondents “not to remove Petitioner from the jurisdiction of this Court during the

duration of the consideration of this petition.” Id.

       Because Fremont is proceeding pro se, this Court holds his submissions “to less

stringent standards than formal pleadings drafted by lawyers.” Haines v. Kerner, 404

U.S. 519, 520 (1972).


I.     STATUTORY BASIS FOR DETENTION

       The first issue is the statutory basis for Fremont’s detention. The government

contends that Fremont’s detention is governed by 8 U.S.C. § 1231(a). Docket Item 8 at

5. That is because when the government filed its motion to dismiss, Fremont’s “order of

removal [had become] final”—on January 15, 2019, when the BIA affirmed the

Immigration Judge’s removal order. Since that time, however, Fremont filed a petition

for review of that decision and a motion to stay his removal with the Second Circuit.



       3 The government submitted its memorandum on February 11, 2019, the day
before Fremont filed his petition for judicial review with the Second Circuit. See Docket
Item 8; Fremont v. Barr, No. 19-369 (2d Cir.), Docket Item 1.

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See Fremont v. Barr, No. 19-369 (2d Cir.). Under DHS’s forbearance agreement with

the Second Circuit, “DHS will not remove an alien who has requested a stay of removal

with a petition for review of an immigration order of removal unless a government

motion opposing the stay is granted by the court or the alien’s stay motion is otherwise

denied.” Sankara v. Whitaker, 2019 WL 266462, at *4 (W.D.N.Y. Jan. 18, 2019).

       8 U.S.C. § 1231(a)(1)(B) provides that if a “removal order is judicially reviewed

and if a court orders a stay of the removal of the alien, the date of the court’s final order”

signals the beginning of an alien’s removal period under § 1231(a). This Court has held

that until a Second Circuit panel rules on an immigrant’s request for a stay of his

removal, the “forbearance agreement amounts to a court ordered stay of the removal of

the alien” for the purposes of the statute. See Hemans v. Searls, 2019 WL 955353, at

*3 (W.D.N.Y. Feb. 27, 2019); Sankara, 2019 WL 266462, at *4; see also Hereda v.

Shanahan, 245 F. Supp. 3d 521, 524 (S.D.N.Y. 2017) (vacated on appeal as moot) (and

cases cited therein).

       Therefore, even if the respondents may have been correct at the time of their

filing, Fremont now is detained under 8 U.S.C. § 1226(c). 4 Because Fremont is not

detained under § 1231(a), this Court rejects his argument that his detention violates that




       4  The government asserts, and Fremont does not dispute, that Fremont was
detained as a criminal alien under 8 U.S.C. § 1226(c), as opposed to § 1226(a), before
his final order of removal. Docket Item 8 at 6. This Court therefore presumes, for the
purposes of this decision and order, that the respondents are holding Fremont under
§ 1226(c). And the fact that Fremont was taken into DHS custody not when he was
released from criminal custody, but instead much later after attempting to enter Canada,
Docket Item 7-1 at 3, is apparently of no moment in answering that question. See
Nielsen v. Preap, ___ U.S. ___, 2019 WL 1245517, at *11 (2019).

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provision as interpreted by the Supreme Court in Zadvydas v. Davis, 533 U.S. 678

(2001).


II.    DUE PROCESS

       The Fifth Amendment’s Due Process Clause forbids the federal government from

depriving any “person . . . of . . . liberty . . . without due process of law.” “Freedom from

imprisonment—from government custody, detention, or other forms of physical

restraint—lies at the heart of the liberty that Clause protects.” Zadvydas, 533 U.S. at

690. “Aliens, even aliens whose presence in this country is unlawful, have long been

recognized as ‘persons’ guaranteed due process of law by the Fifth and Fourteenth

Amendments.” Plyer v. Doe, 457 U.S. 202, 210 (1982). At the same time, however,

Congress has “broad power over naturalization and immigration, [permitting it to] make[]

rules that would be unacceptable if applied to citizens.” Demore v. Kim, 538 U.S. 510,

521 (2003) (quoting Mathews v. Diaz, 426 U.S. 67, 79-80 (1976)).

       The Supreme Court “has held that the Due Process Clause protects individuals

against two types of government action.” United States v. Salerno, 481 U.S. 739, 746

(1987). “So-called ‘substantive due process’ prevents the government from engaging in

conduct that ‘shocks the conscience,’ . . . or interferes with rights ‘implicit in the concept

of ordered liberty.’” Id. (internal citations omitted). “When government action depriving

a person of life, liberty, or property survives substantive due process scrutiny, it must

still be implemented in a fair manner.” Id. “This requirement has traditionally been

referred to as ‘procedural’ due process.” Id.




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       A.     Substantive Due Process

       Fremont argues that his detention violates his right to substantive due process.

Docket Item 1 at 7-8. He has been detained by DHS since March 19, 2018, about a

year. Nevertheless, this Court cannot say detention that long necessarily violates due

process. See Sanusi v. I.N.S., 100 F. App’x 49, 51 (2d Cir. 2004) (summary order)

(determining that six-year detention did not violate due process). Indeed, detention

under § 1226(c) may serve the government’s compelling interests in both “preser[ving]

the government’s ability to later carry out its broader responsibilities over immigration

matters,” Doherty v. Thornburgh, 943 F.2d 204, 211 (2d Cir. 1991), and preventing

crime by arrestees who pose a danger to the safety of the community, see Salerno, 481

U.S. at 749. What is more, Fremont’s detention here has been prolonged primarily by

the pending judicial review of his claims. See Sanusi, 100 F. App’x at 51. Although

there comes a time when the length of an alien’s detention pending removal violates

due process regardless of the procedural protections afforded, that time has not yet

come here. See Salerno, 481 U.S. at 747 n.4.


       B.     Procedural Due Process

       Fremont also challenges “his prolonged detention more than six months without

a meaningful review” as violating “his right to procedural due process.” Docket Item 1 at

8. The Due Process Clause is not offended by the mandatory detention of aliens

without a hearing for the “brief period necessary for . . . removal proceedings.” Demore,

538 U.S. at 513 (emphasis added). But “a lawful permanent resident alien . . . could be

entitled to an individualized determination as to his risk of flight and dangerousness if




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the continued detention became unreasonable or unjustified.” Id. at 532 (Kennedy, J.,

concurring).

       In Demore, the Court explicitly noted that “in the majority of cases [§ 1226(c)

detention] lasts less than the 90 days . . . considered presumptively valid in Zadvydas.”

Id. at 529. Diving even deeper, the Court noted that “in 85% of the cases in which

aliens are detained pursuant to § 1226(c), removal proceedings are completed in an

average time of 47 days and a median of 30 days.” Id. And “[i]n the remaining 15% of

cases, in which the alien appeals the decision of the Immigration Judge to the [BIA],

appeal takes an average of four months, with a median time that is slightly shorter.” Id.

“As detention continues past a year, courts become extremely wary of permitting

continued custody absent a bond hearing.” Muse v. Sessions, 2018 WL 4466052, at *4

(D. Minn. Sept. 18, 2018).

       “In light of the substantial uncertainty surrounding the detention provisions in

[§] 1226(c),” Hechavarria v. Sessions, 891 F.3d 49, 58 (2d Cir. 2018), this Court “has

evaluated procedural due process challenges to immigration detention with a two-step

inquiry,” Hemans, 2019 WL 955353, at *5. “As the first step, the Court considers

whether the alien’s detention has been unreasonably prolonged.” Id. “If it has not, then

there is no procedural due process violation.” Id. “But if it has, the Court proceeds to

step two and ‘identifies the specific dictates of due process’ by considering the Mathews

v. Eldridge factors.” Id. (quoting 424 U.S. 319, 335 (1976)). “If the government has not

provided the procedural safeguards dictated by the Mathews factors to an alien subject

to unreasonably prolonged detention, then his continued detention violates procedural

due process.” Id.



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              1.     Fremont’s Unreasonably Prolonged Detention Without a
                     Hearing

       “The constitutional sufficiency of procedures provided in any situation, of course,

varies with the circumstances.” Landon v. Plasencia, 459 U.S. 21, 34 (1982) (cited in

Jennings v. Rodriguez, 138 S. Ct. 830, 852 (2018)). “[W]hen weighing the lawfulness of

continued detention of an alien under the Due Process Clause” several factors

determine whether detention is unreasonably prolonged. Jamal A. v. Whitaker, 2019

WL 549722, at *3 (D. Minn. Jan. 22, 2019). For example, this Court has considered “(1)

the total length of detention to date; (2) the conditions of detention; (3) delays in the

removal proceedings caused by the parties; and (4) the likelihood that the removal

proceedings will result in a final order of removal.” Hemans, 2019 WL 955353, at *6.

       First, and most important, courts consider the length of detention. Fremont has

been in DHS custody since March 19, 2018, about a year, longer than the four-month

average period contemplated in Demore. See 538 U.S. at 529. “As detention continues

past a year, courts become extremely wary of permitting continued custody absent a

bond hearing.” See Muse, 2018 WL 4466052, at *4 (and cases cited therein); see also

Jennings, 138 S. Ct. at 864 (2018) (Breyer, J., dissenting) (individuals with mental

illness “dangerous to themselves or to others may be confined involuntarily . . . [with]

the right to review the circumstances at least annually”). In fact, courts have found

detention shorter than a year to be unreasonably prolonged as part of procedural due

process analysis. See Vargas v. Beth, 2019 WL 1320330, at *8 (E.D. Wis. Mar. 22,

2019) (“approximately nine and a half months”); Cabral v. Decker, 331 F. Supp. 3d 255,

261 (S.D.N.Y. 2018) (“over seven months” and “over nine months” by the next removal-

related hearing); Hernandez v. Decker, 2018 WL 3579108, at *1, *12 (S.D.N.Y. July 25,


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2018) (nine months); Sajous v. Decker, 2018 WL 2357266, at *1, *12 (S.D.N.Y. May 23,

2018) (over eight months); Jarpa v. Mumford, 211 F. Supp. 3d 706, 720 (D. Md. 2016)

(exceeding ten months); see also Sopo v. U.S. Attorney General, 825 F.3d 1199, 1218

(11th Cir. 2016) (“a criminal alien’s detention without a bond hearing may often become

unreasonable by the one-year mark, depending on the facts of the case”); but see Sigal

v. Searls, 2018 WL 5831326, at *7 (W.D.N.Y. Nov. 7, 2018) (detention over sixteen

months without bond hearing not unreasonable). The length of Fremont’s twelve-month

detention therefore supports his argument that his detention without an individualized

hearing has been unreasonably prolonged.

       Second, courts consider the conditions of detention. But neither party has

supplied the Court with any information about the conditions that Fremont faces at the

Buffalo Federal Detention Facility. So this Court cannot address that factor.

       Third, courts consider whether either side is responsible for the delay. The

Second Circuit has found that this factor weighs against finding detention unreasonable

when an alien has “‘substantially prolonged his stay by abusing the processes provided

to him,’” but not when “an immigrant . . . simply made use of the statutorily permitted

appeals process.” Hechavarria, 891 F.3d at 56 n.6 (quoting Nken v. Holder, 556 U.S.

418, 436 (2009)).

       Here, DHS served Fremont with a Notice to Appear for removal from the United

States on March 20, 2018, the day after he was placed in immigration detention.

Docket Item 7-1 at 3. On May 9, 2018, DHS served Fremont with an amended Notice

to Appear, superseding the earlier notice, that dropped one charge of removability but

added another. Id.; Docket Item 7-2 at 4-6. On September 11, 2018, an immigration



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judge ordered Fremont removed to Haiti. Docket Item 7-2 at 2. On October 11, 2018,

Fremont “timely appeal[ed]” that decision to the BIA, which rendered a decision on

January 15, 2019. Id. at 23. Fremont then appealed that decision to the Second Circuit

on February 12, 2019. Fremont v. Barr, No. 19-369 (2d Cir.), Docket Item 1.

       On these facts, the only delay arguably attributable to Fremont since he was

taken into federal custody in March 2018 is the time he took to file his appeals—that is,

less than two months of his twelve-month detention (about thirty days before his appeal

to the BIA and about twenty-eight days before his appeal to the Second Circuit). During

the other ten months, Fremont sat in detention awaiting decisions from the immigration

judge, the BIA, and now the Second Circuit. Therefore, Fremont does not bear

responsibility for the delay, and this factor does not make his continued detention

reasonable.

       Finally, courts consider the likelihood that the removal proceedings will result in a

final order of removal. This Court declines to weigh the merits of Fremont’s claims

pending before the Second Circuit; in any event, neither side has included much about

the substantive issues in its briefs to this Court. 5

       After weighing all these factors, this Court finds that Fremont’s detention has

been unreasonably prolonged. Therefore, this Court turns to the second step of the

two-part inquiry to determine what remedy his unreasonably prolonged detention

demands.




       5The Court does note, for what it is worth, that Fremont is represented by
counsel in his Second Circuit proceeding. See Fremont v. Barr, No. 19-369 (2d Cir.).

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               2.    The Process Due to Fremont

       “The fundamental requirement of due process is the opportunity to be heard ‘at a

meaningful time and in a meaningful manner.’” Mathews, 424 U.S. at 333 (quoting

Armstrong v. Manzo, 380 U.S. 545, 552 (1965)). “[I]dentification of the specific dictates

of due process generally requires consideration of three distinct factors,” id., at 335, “(A)

the private interest affected; (B) the risk of erroneous deprivation of that interest through

the procedures used; and (C) the governmental interest at stake,” Nelson v. Colorado,

137 S. Ct. 1249, 1255 (2017). Here, that analysis leads to the conclusion that

Fremont’s continued detention without an individualized hearing fails to “comport with

the ‘fundamental fairness’ demanded by the Due Process Clause.” Schall v. Martin,

467 U.S. 253, 263 (1984).

       Fremont’s interest in his freedom pending the conclusion of his removal

proceedings deserves great “weight and gravity.” 6 Addington v. Texas, 441 U.S. 418,

427 (1979). Fremont has an obvious interest in his “[f]reedom from imprisonment—from

government custody, detention, or other forms of physical restraint.” Zadvydas, 533

U.S. at 690. Moreover, while “[t]he private interest here is not liberty in the abstract, but

liberty in the United States,” Parra v. Perryman, 172 F.3d 954, 958 (7th Cir. 1999)




       6  Considering Fremont’s pro se status in this proceeding, and in light of the time-
sensitive nature of habeas proceedings alleging the invalidity of unreasonably
prolonged immigration detention, this Court has looked to Fremont’s filings in his
Second Circuit proceeding for the limited purpose of improving its understanding of his
liberty interests. But even without this information, this Court would presume that
Fremont’s liberty interests in freedom from detention in the United States have great
weight for the reasons explained in note 7, infra.

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(emphasis in original), Fremont has not conceded his deportability, and the resolution of

that issue remains pending before the Second Circuit. 7

       Furthermore, Fremont’s father, five siblings, and seven children are United

States citizens living not in Haiti, where the government wishes to send him, but instead

in Florida and Louisiana, where Fremont has lived since the age of nineteen as a

permanent resident. Fremont v. Barr, No. 19-369 (2d Cir.), Docket Item 10-2 at 2, 17.

Thus, if Fremont chose not to challenge his removal, he would “lose the right to rejoin

h[is] immediate family, a right that ranks high among the interests of the individual.”

Landon, 459 U.S. at 34; see also Ms. L. v. U.S. Immigration and Customs Enf’t., 310 F.

Supp. 3d 1133, 1143 (S.D. Cal. 2018) (family separation as part of immigration

enforcement likely to violate due process).

       Additionally, Fremont apparently has been diagnosed with a serious mental

illness, and he contends that “being deported to Haiti is likely to mean he is detained as

a criminal, dosed with powerful, non-therapeutic sedatives and left to languish in squalid

conditions.” Fremont v. Barr, No. 19-369 (2d Cir.), Docket Item 10-2 at 17. 8 Fremont’s



       7  This Court has yet to closely analyze unreasonably prolonged detention where
a petitioner’s liberty interests were as weak as the Court described in Parra v.
Perryman, 172 F.3d 954, 958 (7th Cir. 1999). Indeed, in each case raised before this
Court, the petitioner demonstrated strong liberty interests in his freedom in the United
States as opposed to in the nation to which he or she might be removed. See, e.g.,
Hemans v. Searls, 2019 WL 955353, at *7 (W.D.N.Y. Feb. 27, 2019); Hechavarria v.
Sessions, 2018 WL 5776421, at *7-*8 (W.D.N.Y. Nov. 2, 2018). And this makes sense.
This Court has come to believe that no rational person would subject himself or herself
to unreasonably prolonged detention in a jail-like detention facility unless that person’s
liberty interests in remaining in the United States are quite strong.
       8Fremont cites a World Health Organization article and an article from the
Journal of Global Health for this proposition. Fremont v. Barr, No. 19-369 (2d Cir.),
Docket Item 10-2 at 17 n.25.

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concerns about the impact of his mental health status on his treatment in Haiti increases

the gravity of his interests.

       This Court recognizes that the government’s interest in detaining Fremont also

may be strong. The government does not contend in any of its filings before this Court

that Fremont is dangerous or a flight risk, and the Court cannot derive from anything in

the record that DHS or any government entity has taken that position. But Fremont is

detained under 8 U.S.C. § 1226(c), which applies to aliens who fall “into one of several

enumerated categories involving criminal offenses and terrorist activities.” Jennings,

138 S. Ct. at 837. “[A]liens detained under its authority are not entitled to be released

under any circumstances other than those expressly recognized by the statute.” 9 Id. at

846. Thus, the statute reflects a congressional purpose in mandating the detention of

criminal aliens to reduce risk of flight and danger to the community. See Demore, 538

U.S. at 518-19 (congress found that “deportable criminal aliens who remained in the

United States often committed more crimes before being removed” and that “20% of

deportable criminal aliens failed to appear for their removal hearings” 10). “The

government’s interest in preventing crime by arrestees is both legitimate and

compelling.” Salerno, 481 U.S. at 749. And general concerns about the risk of flight




       9 The exception from mandatory detention is a “limited authorization for release
for witness-protection purposes,” Jennings v. Rodriguez, 138 S. Ct. 830, 846 (2018), not
applicable here.
       10 The Court noted that this number included aliens who were released from
custody without an individualized bond hearing. Demore v. Kim, 538 U.S. 510, 519 n.4
(2003) (“Although the Attorney General had the authority to release these aliens on
bond, it is not clear that all of the aliens released were in fact given individualized bond
hearings.”) (emphasis in original).

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highlight the government’s compelling interest in preserving its “ability to later carry out

its broader responsibilities over immigration matters.” Doherty, 943 F.2d at 211.

       Finally, this Court concludes that in light of the procedures used thus far, there is

a significant risk of an erroneous deprivation to Fremont’s liberty interests. Section

1226(c) prohibits the government from offering a detainee the opportunity to challenge

whether he is, in fact, a danger or a flight risk. Jennings, 138 S. Ct. at 846. Now that

Fremont’s detention has become unreasonably prolonged, due process requires some

opportunity to be heard “at a meaningful time and in a meaningful manner,” Armstrong,

380 U.S. at 552, to challenge the statute’s assumptions as applied to him.

       An opportunity to be heard in a meaningful manner necessarily requires a

hearing that “satisfies the constitutional minimum of fundamental fairness.” Santosky v.

Kramer, 455 U.S. 745, 756 n.8 (1982) (internal citation omitted). When the government

seeks the civil detention of a person to effectuate a compelling regulatory purpose,

balancing the liberty interest at stake against the government’s interests requires the

government to show by clear and convincing evidence that detention is necessary to

serve a compelling interest. See Foucha v. Louisiana, 504 U.S. 71, 81-83 (1992);

Addington, 441 U.S. at 432-33; Hemans, 2019 WL 955353, at *8; Hechavarria v.

Sessions, 2018 WL 5776421, at *8 (W.D.N.Y. Nov. 2, 2018); see also Santosky, 455

U.S. at 756 (quoting Addington, 441 U.S. at 424) (“clear and convincing evidence”

standard applies “‘when the individual interests at stake in a . . . proceeding are both

‘particularly important’ and ‘more substantial than mere loss of money’”). That standard

applies equally here. To sustain the prolonged detention of an alien subject to removal

proceedings based on its general interests in immigration detention, the “[g]overnment



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[is] required, in a ‘full-blown adversary hearing,’ to convince a neutral decisionmaker by

clear and convincing evidence that no conditions of release can reasonably assure the

safety of the community or any person,’” Foucha, 504 U.S. at 81 (quoting Salerno, 481

U.S. at 751), or ensure that the alien will appear for any future proceeding. 11 “This

requires consideration of less restrictive alternatives to detention. See id. Cf. United

States v. Playboy Entm’t Grp., Inc., 529 U.S. 803, 816 (2000) (“When a plausible, less

restrictive alternative is offered to a” regulation burdening a constitutional right, “it is the

Government’s obligation to prove that the alternative will be ineffective to achieve its

goals.”).

       Fremont’s § 1226(c) detention has been unreasonably prolonged, and § 1226(c)

does not require an individualized hearing where the government must demonstrate by

clear and convincing evidence that no conditions of release can reasonably serve the

government’s compelling regulatory interests in detaining him. The statute therefore is

unconstitutional as applied to him, and his continued detention violates the Due Process

Clause. Fremont therefore must be released unless, no later than fourteen days from

the date of this decision, the government demonstrates by clear and convincing

evidence before a neutral decision maker that Fremont’s continued detention is

necessary to serve a compelling regulatory purpose—such as preventing flight or

protecting others or the community. The decision maker also must consider—and must

address in any decision—whether there is clear and convincing evidence that no less



       11As this Court explained in Hemans, 2019 WL 955353, at *8 n.7, a pretrial
detainee’s right to a speedy trial distinguishes the interests supporting the evidentiary
standard traditionally applicable for flight risk determinations for pretrial detention
purposes from what is required after an unreasonably prolonged immigration detention.

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restrictive alternative to physical detention, including release on bond in an amount the

petitioner can reasonably afford, with or without conditions, would also reasonably

address those purposes.


III.   LIMIT ON TRANSFERRING FREMONT

       Fremont has asked this Court to order the respondents and their “agents not to

remove [him] from the jurisdiction of this Court during the duration of the consideration

of this petition.” Docket Item 1 at 8. The respondents contend that this request is not

subject to judicial review. Docket Item 8 at 7-8.

       Now that this Court has conditionally granted Fremont’s writ, his jurisdictional

concerns are not unreasonable. After all, “conditional writs ‘would be meaningless’ if a

habeas court could not determine compliance with them and order sanctions

accordingly.” Mason v. Mitchell, 729 F.3d 545, 549 (6th Cir. 2013) (quoting Satterlee v.

Wolfenbarger, 453 F.3d 362, 368 n.5 (6th Cir. 2006)). But “[it] is well established that

jurisdiction attaches on the initial filing for habeas corpus relief, and it is not destroyed

by a transfer of the petitioner and the accompanying custodial change.” See Santillanes

v. U.S. Parole Comm’n, 754 F.2d 887, 888 (10th Cir. 1985). In other words, regardless

of where [Fremont] is housed, this Court retains jurisdiction over his habeas petition. So

there is no need to interfere with DHS’s authority to “arrange for appropriate places of

detention” under 8 U.S.C. § 1231(g)(1).




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                                       CONCLUSION


         For the reasons stated above, the respondents’ motion to dismiss, Docket Item 7,

is DENIED and Fremont’s petition, Docket Item 1, is conditionally GRANTED. Within

fourteen calendar days of the date of this Decision and Order, the government

must release Fremont from detention unless a neutral decision maker conducts an

individualized hearing to determine whether his continued detention is justified. At any

such hearing, the government has the burden of demonstrating by clear and convincing

evidence that Fremont’s continued detention is necessary to serve a compelling

regulatory purpose, such as protecting against danger to the community or risk of flight.

Whether detention is necessary to serve a compelling regulatory purpose requires

consideration of whether a less restrictive alternative to detention would also address

the government’s interests. In other words, the decision maker must find that no

condition or combination of conditions of release can reasonably assure Fremont’s

appearance and the safety of the community or any persons—that is, even with

conditions, Fremont presents an identified and articulable risk of flight or threat to an

individual or the community. Fremont’s request to order the respondents not to transfer

him out of the territorial jurisdiction of this Court is DENIED.

         SO ORDERED.

Dated:         April 2, 2019
               Buffalo, New York



                                                s/ Lawrence J. Vilardo
                                               LAWRENCE J. VILARDO
                                               UNITED STATES DISTRICT JUDGE



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